
16 N.Y.2d 1060 (1965)
The People of the State of New York, Respondent,
v.
David Polite (Indicted as David Hogue) and Arthur Lee Hopkins, Appellants.
Court of Appeals of the State of New York.
Argued November 22, 1965.
Decided December 1, 1965.
Michael A. Grean and Anthony F. Marra for appellants.
Frank D. O'Connor, District Attorney (Eugene Feldman of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE and BERGAN. Judge SCILEPPI votes to reverse and to order a new trial.
Judgment reversed and indictment dismissed (People v. English, 16 N Y 2d 719; People v. Lo Verde, 7 N Y 2d 114). No opinion.
